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                                                                                      FILED
                                                                                  U.S. DISTRICT COURT
                                                                              EASTERN DISTRICT ARKANSAS

                                                                                      SEP 1 7 2021
                                                                           • TAMMY H. DOWNS, CLERK
                                                                           By·           1"&
                                                                                                        DEPCLERK


                      IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT COURT OF ARKANSAS
                                CENTRAL DIVISION
                                                This case assigned to District JudQr                  Moot>Y
                                                            and to Magistrate Judge         ~-0_\tff;
CHILANDA KAY YANCY, Individually and as the Mother of;
MARLON LANEIR WATKINS, Deceased Individual,
 And as Representative of the EST ATE of MARLON
      LANEIR WATKINS
                                  PLAINTIFF

                         '                                          .
vs.           CIVIL ACTION CASE NO.: '\:~ Z.\- l-.J- 00 0z(o-jM             COMPLAINT

                                                                    .
SHERIFF ED GONZALEZ, Individually and in his OFFICIAL;'
CAPACITY AS Sherriff of HARRIS COUNTY, TEXAS
and THE HARRIS COUNTY GOVERNMENT and
THE HARRIS COUNTY SHERRIFF'S OFFICE and
G.H. DAVILA, Officer# S27609 and JOHN DOE, Owner of
Vehicle that struck and killed Marlon Watkins        ;JURYTRIALDEMANDED

                                     DEFENDANT(s)


                               PLAINTIFF'S ORIGINAL COMPLAINT


       NOW COMES the Plaintiff CHILANDA KAY YANCY, Individually and Plaintiff by and

through her attorney, Marcus C. Devine, Devine Legal Services, as personal representative of the

Estate of Marlon Laneir Watkins, deceased, Pulaski County, Arkansas Probate Case No. 60 PR-

2021-1953, complaining about the actions of the Defendants, more specifically, the Harris County

Sherriffs Office and Sheriff Ed Gonzales, individually and in his official capacity as Sherriff and

Harris County Sheriffs Officer G.H. Davila and for her cause of action against the Defendant(s)
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herein alleges and states for her Complaint:

                              1.      NATURE OF THE ACTION

    1. This Action is brought by the Plaintiff against the Defendant( s), the Harris County

       Government, the Harris County Sherriff s Office, Harris County Sheriffs Office Officer

       G.H. Davila, Badge #S27609 and Sheriff Ed Gonzalez, Individually and in his official

       capacity as Sherriff of Harris County for the use of excessive force and the reckless and

       cavalier use of force that led to the death of Marlon Laneir Watkins ( also "Watkins") and

       John Doe, the owner of the vehicle that struck and killed Mr. Marlon Laneir Watkins after he

       was tased and then chased by the Harris County Sherriff s Office Officer G .H. Davila and/or

       others. This wrongful death occurred under color of law in violation of Watkins' rights

       under the Fourth Amendment of the United States Constitution and in violation of his civil

       rights pursuant to 42 U.S.C. § 1983.

   2. Plaintiff alleges that Harris County and the Sherriff of the Harris County Sherriff s Office

       and its policymakers, specifically Sherriff Ed Gonzalez (collectively referred to as the

       'Policymakers') failed to properly train, supervise, screen, discipline, transfer, counsel or

       otherwise control officers who are known to engage in the use of excessive force and/or

       deadly force. The Policymakers, specifically Harris County Government and the Harris

       County Sherriffs Office and Harris County Sherriff Ed Gonzalez had a duty but failed to

       implement and/or enforce policies practices and procedures for the Harris County Sherriff s

       Office that respected Marlon Laneir Watkins' constitutional rights. Defendant Harris County

        and the Harris County Sheriffs Office and Sheriff Ed Gonzales' failure to adequately

       supervise and discipline their officers, including and not limited to Officer G.H. Davila,

       implement necessary policies, their unconscionable and cruel failure to communicate with
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   the grieving family of Marlon Laneir Watkins about his death and the circumstances

   surrounding his death and their callous and indifferent failure to provide the name of the

   owner of the vehicle that struck Marlon Laneir Watkins caused unwarranted and excruciating

   mental anguish to the family of Marlon Laneir Watkins in addition to the physical pain and

   anguish suffered by Marlon Laneir Watkins as he lay dying in the street after being tased

   repeatedly and then struck by a vehicle. The policymakers compounded the harm by

   unnecessarily and deceptively shielding information and bodycam footage of the police

   encounter from the family of Marlon Laneir Watkins, ostensibly because of an "ongoing

   police investigation" while never completing or divulging the results of said investigation.

   Even on the date and at the time that this complaint is being filed, over 150 days after the

   police encounter and the death of Marlon Laneir Watkins, the family has still not been told

   or shown the circumstances around Marlon Laneir Watkins' death. This behavior and these

   actions were cruel and callous and unacceptable and offensive and WOULD NOT have

   occurred if the decedent was Sherriff Gonzales' son or a County Commissioner's son. For

   these civil rights violations and other causes of action discussed herein, Plaintiff seeks

   answers and the truth and compensation for damages and the wrongful death of Marlon            ,,

   Laneir Watkins.

                                 II.     PARTIES

3. PlaintiffChilanda Kay Yancy is a person of majority age and a resident of Pulaski, County

   Arkansas. Chilanda Yancy is the mother of unmarried Marlon Laneir Watkins, who was

   raised in North Little Rock, Arkansas and was a recent and new transplant to Harris County,

   Texas. Ms. Yancy sues on behalf of herself and as personal representative of the Estate of

   Marlon Laneir Watkins, deceased.
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4. Defendant Ed Gonzales is Sheriff of Harris County. He may be served at 1200 Baker Street,

   Houston, Texas 77002 or wherever he may be found. Defendant G.H. Davila, Badge
                                                                   I

   number S27609, is an officer of the Harris County Sheriffs Office and may be served at

   1200 Baker Street, Houston, Texas 77002 or wherever he may be found. Defendant Harris

   County is a subdivision of Texas government which operates the Harris County Sheriffs

   Office. Harris County Judge is Lina Hidalgo and she may be served at 1001 Preston, Suite

   911, Houston, Texas 77002. Due to Covidl9 emergency, Legal counsel to County Judge

   Lina Hidalgo is now accepting service ofprocess via email to CJOservice@cjo.hctx.net.

   She may also be served wherev·er she may be found. As yet, the Harris County Sheriffs

   Office has callously shielded from our view the identity and insurer for the identity of the

   owner of the vehicle that struck and killed Marlon Laneir Watkins on March 24, 2021, as

   such we will refer to that individual as John Doe.

                           III.    JURSIDICTION AND VENUE

5. Jurisdiction exists for this proceeding in this Court pursuant to 28 USC §1331 and §1332 and

   § 1343 as this action is brought under, inter alia, the Fourth Amendment of the United States

   Constitution and 42 U.S.C. § 1983, to redress deprivation of rights, privileges            and

   immunities guaranteed to decedent Marlon Laneir Watkins, by constitutional and statutory

   provisions. Plaintiff further invokes the supplemental jurisdiction of this Court pursuant to

   28 U.S.C § 1367 to adjudicate potential pendent claims arising under the laws of the State of

   Texas or Arkansas .

6. Jurisdiction and venue are proper in this court pursuant to diversity jurisdiction and the fact

   that Chilanda Kay Yancy is a citizen of the United States and a resident of Arkansas and the

    Defendant(s) are residents of the State of Texas and a political subdivision of the State of




             •
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       Texas.

                                      IV.     FACTS

    7. At a little afternoon on Wednesday, March 24, 2021, Marlon Laneir Watkins had an

       argument with a young lady named Avery Chavaria at his home at the 5700 blk of
                                                                                .
       Greenhouse Road in Katy, Texas 77449. (See Attachment "A"). The Harris County

       Sheriff's Office Officers were dispatched and responded to the scene. Quickly thereon, the

       Harris County Sheriff's Officer G.H Davila engaged in an altercation with Marlon Laneir

       Watkins. He was subsequently tased and then pursued him into the street where he was

       struck and killed by a vehicle owned by a John Doe (fictitious name, the Plaintiff still has

       not been made aware of the owner or liability insurer of the vehicle that struck and killed

       Marlon Laneir Watkins). The Plaintiff has also not been shown the body camera footage or

       dash camera footage of the entire deadly incident.

~
    8. After the Harris County Officer(s) tased and chased of Marlon Laneir Watkins, he was struck

       by a vehicle and died. The death certificate reflects the cause of death for Marlon Laneir

       Watkins as multiple blunt force trauma. (See Attachment "B").

    9. The Plaintiff paid for the funeral and funeral expenses for the interment of Marlon Laneir

       Watkins. (See Attachment "C").

    10. The Plaintiff was ·also presented with a medical bill for medical services performed for and

       on behalf of Marlon Laneir Watkins. (See attachment 'D").

    11. A domestic disturbance call should not result in death from the interaction with police. The

       Harris County Sheriff's Officer G.H. Davila acting under color oflaw tased and then chased

       Mr. Watkins into oncoming traffic.

    12. There is no evidence that Mr. Watkins or anyone else was in danger of imminent death or
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   great bodily harm when the Harris County. Officers arrived on the scene. We have no

   evidence that Mr. Watkins posed any risk to anyone when he was tased and chased into

   oncoming traffic. Defendants' lack of training offerings and official customs and procedures

   led directly to Harris County Officer G.H. Davila's unlawful and unwarranted acts. As a

   direct and proximate result of the Defendant's conduct, the Plaintiff has sustained substantial

   damages and extensive pecuniary loss. Mr. Watkins was thirty (30) years old when he was

   killed on March 24, 2021 and was a talented young man and a young man whose life had

   promise and potential. He was in good health, with a reasonable life expectancy of living

   another 55 years to an age of 85 years old. Mr. Watkins life ended in a tragic and violent

   manner. He leaves Chilanda Kay Yancy to cherish his memory.

13. During his lifetime, Marlon Watkins was industrious and energetic and a great son. He

   performed numerous and usual tasks in/about the family residence in Sherwood and gave

   advice, counsel, comfort, care and protection to his mother and family. In all reasonable

   probability and likelihood, he would have continued all of these actions and behaviors.

   Marlon Watkins wanted to better his life and pursue his lifelong dreams.

14. Marlon's mother suffered pecuniary loss from the death of her son by virtue of the

   destruction of the parent-child relationship, including the right to love, affection, solace,

   comfort, companionship, society, emotional support and happiness. His mother has suffered

   and will suffer anguish, grief and sorrow as a result of her son's death and is likely to suffer

   for a long time in the future. For these losses, the Plaintiff seeks damages in a sum in excess

   of the minimum jurisdictional limits of this Court.

15. Upon information and belief, the Harris County Sheriffs Office has not implemented

   policies and procedures to aggressively curtail death and/or injuries as a result of the
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   improper use of deadly force and have not disciplined officers involved in the cover up of a

   crime.



    EXCESSIVE FORCE BY DEFENDANT(s} Gndividually and in their official capacity}

                                  COUNT I- 42 U.S.C. § 1983

16. Plaintiff incorporates by reference paragraphs 1 through 15 as if fully set forth herein. The

   Plaintiff will show that Defendant Davila's actions on the occasion in question were

   wrongful, malicious and reckless in depriving Watkins of his constitutional rights, as alleged

   more fully below.

17. Plaintiff will show that at all times material hereto, Defendant Davila had a duty to avoid

   infliction of unjustified bodily injury to Marlon Watkins, to protect his bodily integrity and

   to not trample on his constitutional rights.

18. Plaintiff will show that Defendant Davila failed to act as a reasonable officer would have

   acted in the same or similar circumstances. That is, Defendant Davila, without justification

   or need to do so, used excessive force as described above that led to the killing of Marlon

   Watkins without legal justification. Watkins did not pose an immediate threat to the safety

   of Defendant Davila or others at the time that he was tased and chased into oncoming traffic.

19. Defendant Davila was not provoked when he tased Marlon Watkins. Watkins then

   reasonably and unremarkably fled from the tasing officer. In his flight, he was immediately

   struck by a vehicle owned by separate Defendant John Doe and died. The excessive force

   used by the Defendants was not reasonable or justified nor was it necessary under the

   circumstances.

20. Defendant Davila's actions were not objectively reasonable because he followed a procedure
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   from his superiors designed to inflict excessive and deadly force in restraining individuals in

   non-life-threatening situations.

21. Plaintiff will show that Defendant Davila denied Marlon Watkins his right to be free from

   the use of excessive force in violation of the Fourth Amendment to the United States

   Constitution.

22. The force used by Defendant Davila was unnecessary, excessive and unreasonable under the

   circumstances, as Marlon Watkins did not pose an immediate threat to the safety of

   Defendant Davila or others and the use of such excessive force was wholly unnecessary.

   Defendant Davila embarked on a willful, malicious, reckless and outrageous course of

   conduct that was intended to cause and in fact, caused Marlon Watkins to suffer extreme and

   severe mental and emotional distress, agony and anxiety.

23. As a result of these Constitutional violations to Marlon Watkins and the injuries that he

   sustained, Plaintiff seeks compensation as set forth more specifically in the section of this

   Complaint entitled "damages".

           FAILURE TO TRAIN BY THE HARRIS COUNTY SHERIFF"S OFFICE

                                   COUNT II- 42 U.S.C. § 1983

24. Plaintiff incorporates by reference paragraphs 1through 23 as if fully set forth herein. Prior

   to March 24, 2021, the Harris County Sheriffs Office knew or should have known that

   Defendant Davila exhibited a pattern of escalating encounters with the public.

25. Defendant Davila and other officers at the scene of the incident were acting under color of

   law and acting pursuant to the customs, practices and policies of the Harris County Sheriffs

   Office regarding the use of force as authorized and/or ratified by the Policymakers,

   specifically the Harris county government, the Harris County Sheriffs Office and Sheriff Ed
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    Gonzales. Marlon Watkins was deprived of the rights and privileges secured to him by the

    United States Constitution and by other laws of the United States and by the Harris County

    Sheriffs office failing to provide proper training, adequate supervision or discipline in

    dealing with individuals such as Marlon Watkins in violation of 42 U.S.C. § 1983 and related

   provisions of federal law and in violation of the above cited provisions.

26. With respect to the claims made as the basis for this lawsuit, the Harris County Sheriffs

    Office and the government of Harris County and Sheriff Ed Gonzales failed to adequately

   train their officers on how to deal with individuals and the subsequent use of force. The

   failure to train their officers in relevant respect reflects a deliberate indifference to the

   Policymakers' obligation to preserve and protect the rights of the inhabitants and guests of

   Harris County and is actionable under 42 U.S.C. § 1983.

27. Defendant Harris County government and Harris County Sheriffs Office under the direction

   of Sheriff Ed Gonzales developed and maintained a policy of deficient training of its police

   force in the proper and appropriate use of force. The Harris County Sheriffs Office training

   regimen was designed and implemented under Sheriff Ed Gonzales under the auspices of

   Harris County government.

28. The Policymakers failure to provide adequate training to its officers on how to deal with

   individuals and the subsequent use of force reflect deliberate indifference by the

   Policymakers and reckless and conscious disregard for the obvious and expected risks that

   officers would use excessive force on citizens and guests of Harris County and therefore

   made violations of Marlon Watkins' constitutional rights, including his death, a reasonable

    probability.

29. Plaintiff will show that Defendant Davila's actions were the result of, or within the scope of,
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    wrongful and reckless customs, policies, practices and/or procedures for which the Harris

    County Sheriffs Office, Harris County government and Harris County Sheriff Ed Gonzales

    knew or should have known but never adequately provided the requisite and proper training

    to curtail.

 30. The Harris County Sheriffs Office and Harris County Sheriff Ed Gonzales and Harris

    County government's failure to properly train and discipline its officers was the proximate

    cause of the violations of Marlon Watkins' constitutional rights.

FAILURE TO ADEQUATELY SUPERVISE OR DISCIPLINE AND RATIFICATION
                           CLAIM

                                         COUNT III

 31. Plaintiff incorporates by reference paragraphs 1 through 30 as if fully set forth herein.

 32. On Plaintiffs governmental liability claim against the Harris County government and the

    Harris County Sheriffs Office for failing to supervise or discipline its officers for prior

    violations and the resulting lack of supervision:

    a.      The Harris County Sheriffs Office and the Harris County government failed to

         adequately supervise its employees in handling usual and recurring situations with which

         they deal;

    b.      The Harris County Sheriffs Office was deliberately indifferent to the need to

         supervise and/or discipline its officers and/or employees adequately; and

    c.      The failure to adequately supervise and/or discipline its officers proximately caused a

         deprivation of Marlon Watkins' constitutional rights.

 33. As a direct and proximate result of the Harris County government's and the Harris County

     Sheriffs Office's failure to adequately supervise or discipline its officers, the Plaintiff has

     suffered damages.
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                           PUNITIVE/EXEMPLARY DAMAGES

34. Plaintiff incorporates by reference paragraphs 1 through 33 as if fully set forth herein.

   Additionally, and in the alternative, the conduct of Defendant Davila and Defendant

    Gonzales were done with malice. As such, Plaintiff requests punitive and exemplary

   damages to deter this type of conduct in the future. Such heedless and reckless disregard for

   Marlon Watkins' rights, safety and welfare was more than momentary thoughtlessness,

   inadvertence or misjudgment it was willful and indifferent. The willful and shameful refusal

   to inform a grieving family of any details about the violent and bloody death of their loved

   one and to instead cloak the matter around a non-existent "on-going criminal investigation"

   to prevent disclosure was horrific. Such unconscionable conduct goes beyond ordinary

   negligence, and as such, the Plaintiff requests punitive and exemplary damages be awarded

   against Defendant Davila and Defendant Sheriff Ed Gonzales in a sum which is within the

   jurisdictional limits of this Court.

                                   SURVIVAL ACTION

3 5. Plaintiff incorporates by reference paragraphs 1 through 34 as if fully set forth herein.

36. Plaintiff Chilanda Kay Yancy is the representative for the Estate of Marlon Laneir Watkins,

   Jr.

37. Marlon Watkins died as a result of the Defendants' wrongful conduct.

38. Mr. Watkins would have been entitled to bring this action against the Defendants ifhe had

    lived.

39. The Decedent's right of action for the wrongful conduct against the Defendants survive in

    favor of heirs, legal representatives and the Estate of the deceased.

40. Defendants are liable to Plaintiff for the loss of Marlon Watkins life, pain and suffering and
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   the violation(s) of his civil rights. Plaintiff seeks compensation as set forth more specifically

   in the section of this Complaint entitled "Damages".



                                      WRONGFUL DEATH

41. The Plaintiff incorporates by reference the information contained in paragraphs 1 through

   40 as if fully set forth herein.

42. By reason of Defendant Davila's wrongful conduct and John Doe's striking with his vehicle

   and killing Marlon Watkins, the Defendants are liable for damages.

43. Defendant Davila's conduct and the striking of Mr. Watkins by the vehicle owned and driven

   by John Doe caused Watkins' death was the producing cause of Watkins' injuries which

   resulted in the following damages: loss of family relationships, love, support, services,

   emotional pain and suffering and for their acts and those of Defendant Sheriff Ed Gonzalez

   of the infliction of emotional distress caused by the wrongful killing of Marlon Watkins and

   the subsequent obfuscation of the facts surrounding his killing.

44. The Plaintiff seeks compensation as set forth more specifically in the section of this

   Complaint entitled "Damages".

                            DAMAGES ALL DEFENDANTS

45. The Plaintiff incorporates by reference paragraphs 1 through 44 as if fully set forth herein.

   Defendants' acts and/or omissions were the proximate cause of the following injuries

   suffered by the Plaintiff and the Decedent:

   a.      Actual damages;

   b.      Loss of affection, comfort, financial assistance, protection and care;

   c.      Pain and suffering and mental anguish suffered by Marlon Watkins immediately
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         prior to his death;

    d.       Mental anguish and emotional distress suffered by the Plaintiff;

    e.       Loss of quality of life;

    f.       Funeral and burial expenses;

    g.       Loss of service;

    h.       Medical bills;

    1.       Loss of future earnings and contributions to Plaintiff;

   J.        Exemplary and punitive damages as well as court costs;

    k.       Pursuant to 42 U.S.C. § 1988 and other applicable laws, Plaintiff should be awarded

         reasonable attorney's fees for the preparation and trial of this cause( s) of action and for

         its appeal, if required;

   1.        Prejudgment interest; and

   m.        Post judgment interest.



46. The Plaintiff seeks total damages of fifteen million dollars ($15,000,000.00).



                                COSTS AND ATTORNEY FEES

4 7. The Plaintiff incorporates by reference paragraphs I through 46 as if fully set forth herein.

    Plaintiff is entitled to an award of attorney fees and costs under 42 U.S.C. § 1988(b). As

    such, Plaintiff requests that this Court award costs and attorney fees incurred in Plaintiffs

    prosecution of this litigation.

                               JOINT AND SEVERAL LIABILITY

48. Plaintiff incorporates by reference paragraphs 1 through 47 as if fully set forth herein.
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        Plaintiff will show that the Defendants were jointly and severally liable for the gross

        negligence and intentional acts specified above that were the proximate cause of the

        Plaintiffs injuries.

                                    CONDITIONS PRECEDENT

    49. Plaintiff reserves the right to plead and prove the damages to which they are entitled to at the

        time of trial. All conditions to Plaintiffs recovery have been performed or have occurred.

                                         TRIAL BY JURY

    50. Plaintiff demands a trial by jury upon all issues.



                                             PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Defendants be cited to appear

and answer herein; that upon final trial hereof, the Plaintiff has and recovers judgment from

Defendants; actual damages, exemplary damages, pre-judgment interest at the legal rate; interest on

said judgment at the legal rate; costs of Court; and such other relief, both general and special, at law

and equity, to which the Plaintiff is justly entitled.

                                                Respectfully Submitted,

                                                DE~INE LEGfL SERVI~

                                                By:~-------~---------
                                                Marcus Devine (98-097)
                                                Attorney for Plaintiff, Chilanda Kay Yancy, Personal
                                                Representative for the Estate of Marlon Laneir
                                                Watkins Jr., deceased
                                                Devine Legal Services
                                                421 Fern A venue
                                                Little Rock, Arkansas 72205
                                                (479) 402-0~75
                                                marcdevine612@icloud.com
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                       IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT COURT OF ARKANSAS
                                 CENTRAL DIVISION



CHILANDA KAY YANCY, Individually and as the Mother of ;
MARLON LANEIR WATKINS, Deceased Individual,
 And as Representative of the EST ATE of MARLON
      LANEIR WATKINS
                                  PLAINTIFF


vs.            CIVIL ACTION CASE NO.:                                         COMPLAINT


SHERIFF ED GONZALEZ, Individually and in his OFFICIAL;
CAPACITY AS Sherriff of HARRIS COUNTY, TEXAS
and THE HARRIS COUNTY GOVERNMENT and
THE HARRIS COUNTY SHERRIFF'S OFFICE and
G.H. DAVILA, Officer# S27609 and JOHN DOE, Owner of
Vehicle that struck and killed Marlon Watkins        ; JURY TRIAL DEMANDED

                                       DEFENDANT(s)

                                       PROOF OF SERVICE


I, Marcus C. Devine and the Plaintiffs Attorney of Record in this lawsuit and I served the summons
and complaint on the Defendants, pursuant to Rule 4 of the North Carolina Rules of Civil Procedure
via (                               ) by certified mail, return receipt requested, restricted delivery
as shown by the attached signed return receipt.


                                                      Marcus C. Devi
                                                      DEVINE LEG/L SERVICES

                                               By: -     •       l' >     I

                                               Marcus Devine (98-09.....__,
                                               Attorney for Plaintiff
                                               Devine Legal Services
                                               421 fern Avenue
                                               Little Rock, Arkansas 72205
                                               (479) 402-0575
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marcdevine612@icloud.com



                             September 3, 2021
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       Agency Name                                                                   INCIDENT REPORT                                         Case#
                                                                                                                                                      2103-09341
                Harris County Sheriffs Office
                                                                                                                                             Date / Time Reported
  I    ORI                                                                                                                                              03/24/2021 12:38 Wed
  N                             TX/010000                                                                                                    Last Known Secure
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               Crime Incident                                         (        )   Weapon/ Tools                                                                         I   ACllVtty

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 MO

       # of Victims I           I
                               Type: INDIVIDUAL                                                   Injury: Unconsciousness
              Victim/Business Name {Last, First, Middle)                                      Victim of      DOB      Race Se) Relationship Resident Status    Military
  V     Vt CHA VAR/A, A VERY                                                                  Crime#                           To Offender                  Branch/Status
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  M
       Employer Name/Address                                                                                                   Business Phone                I   Mobile Phone

       VYR          Make        IModel            j Style        IColor                I LiciLis                               VIN

       CODES: V- Victim (Denote V2, V3) 0 = Owner (ifother than victim)                    R = Reporting Person (if other than victim)
       Type:                                                                                      Injury:
  0
  T   Code Name (Last, First, Middle)                                                          Victim of      DOB          Race Se Relationship Resident Status    Military
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       Employer Name/Address                                                                                                   Business Phone                I   Mobile Phone
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  V                                                                                                                          Race Se, Relationship Resident Status
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       Employer Name/Address·                                                                                                  Business Phone           I Mobile Phone
        I= None      2 = Burned     3 = Counterfeit I Forged 4 =Damaged/ Vandalized              5 = Recovered 6 = Seized 7 = Stolen 8 = Unknown
                                          "'OJ" = Recovered for Other Jurisdiction)
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               F,mrrc           Value      OJ OTY                         Prooertv Descriotion                                  Make/Model                            Serial Number



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       Officer/ID#         DAVILA G. H. fD4PT DA YSJ (S27609!
       Invest ID#          FERRELL J. T (GINV HOM) (S00502)                                                      Supervisor        MIKEL, P.A. (D4PT, DAYS) (S27359)
Status Complainant Signature                                I Case Status
                                                             Active                               03/24/202/
                                                                                                                 Case Disposition:
                                                                                                                                                                        I       Page I
       R CSl IBR                                Printed By: KASTULL,                                           Sys#: 2724714                                           06/10/2021 08:29
                Case 4:22-cv-02335 Document 1 Filed on 09/17/21 in TXSD Page 18 of 23

                                                      Incident Report Additional Name List
Harris County Sheriff's Office                                                                                                         OCA: 2103-0934/

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 R CS7NC                                                     Printed By: KASTULL,               06/10/2021 08:29                                                      Page2
                        Case 4:22-cv-02335 Document 1 Filed on 09/17/21 in TXSD Page 19 of 23

                                                        INCIDENT/INVESTIGATION REPORT

                                                 --
                                                                                                                       I Case# 2/03-0934/             I
Status     I = None 2 = 8 urned 3 = Counterfeit / Forged   4 =Damaged/ Vandalized 5 = Recovered 6 = Seized   7 = Stolen 8 = Unknown
Codes
         !BR Statui           Quantity   Type Measure                  Suspected Type                                 Up to 3 types of activity


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         Assisting Officers
          GILLILAND, T (S2_7/67), SHELTON, TR. (SJ4044), HERRING, P.M (S28!40), COLEMAN, D.W (S27584), FRAZIER, B.
          (SJ5470), FRAZIE~, B. (SJ5470), SATTERFIELD, JL. (S28006), ANDRADE, A.L. (S00433), BAILEY-TILLMAN, D.T
          (S29531), BAILEY-TILLMAN, D. T (S2953/), OLAGUNJU, A.E. (S29208), ELJZONDO, NO. (S28106), BELL, JJ (S2872!),
          WATERS, SC. (S00272), RODRIGUEZ, R. (S29620), MOOK, C.A. (S27939), MOOK, C.A. (S27939), BALA£!, SJ (S29626),
          t,"SPINOZA, E.A. (S28776), ESPINOZA, E.A. (S28776), EDWARDS JI/, C.R. (S29629), SCHJELDS, R.R. (S27!24), BRAWNER,
          B~A. (S/6530), VINJNGRE, JB. (S/5002), MIKEL, P.A. (S27359), MURPHY, MT (S16243), PERKINS, CW (S27332),
          MCCONNELL, A.A. (S/6931), GARCIA, V (S00565), GARCIA, V (S00565), WOELK, S.M. (S26808), CHENG, SC. (S26977),
          CHENG, SC. (S26977), CABRERA, JR. (S263 IO), JACKSON, TL. (S27974), AMAD, MW (S00090), VILLARREAL, JJ
          (S27983), CAMPOS, SR. (S00773), VERA, A. (S/5124), WYATT, WW (S/6325), BROWN, JM (S27l9/), KIRKLEY, T
          (S27030), KIRKLEY, T (S27030), DAVIS, C.J (S00924), KATR!B, B. (S27745)

         Suspect Hate/ Bias Motivated:   NONE (NO BIAS)

                                                           INCIDENT/INVESTIGATION REPORT
Narr. (cont.) OCA: 2103-09341                                 Harris County Sheriffs Office
NARRATIVE
complainant was assaulted by a known suspect who evaded and was struck by a vehicle.




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R CS2IBR                                                          By: KASTULL, 06/10/2021 08:29                                                   Page 3
                    Case 4:22-cv-02335 Document 1 Filed on 09/17/21 in TXSD Page 20 of 23



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                                                            TEXAS DEPARTMENT OF STATE HEALTH SERVlCES - vrrAL STATISTICS

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                                 This is a true and correct copy of the record as registered in:.fhe·.State of TeX<!S. Issued under the
                               - authority of Section 191.051, Health and Safety1Code.                    ·         ····
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                               WARNING: THIS DOCUMENT_HAS A DARK BLUE BORDER AND A COLO\ED" BACKGROUN~                                                                                                                                                                              . _Local Registrar
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              Case 4:22-cv-02335 Document 1 Filed on 09/17/21 in TXSD Page 21 of 23
                                                                                                                      EXHIBIT


                                                                                                                          C
                                                            Superior Funeral Sevices
                                           5017 East Broadway, North Little Rock, AR 72117 (501) 945-9922
                                                                              SERVICE        2021
NAME:                 Marlon Watkins
DATE OF DEATH:              3/24/2021                       PLACE OF DEATH:             Houston TX
Charges are only for those items that you have selected or that are required. If we are required by law or by a cemetery
to use any Items, we will explain the reasons in writing below. If you have selected a funeral that may require embalming
such as a funeral with viewing. You may have to pay for embalming,
You do not have to pay for embalming, if you did not approve or you have selected arrangements such as a
direct cremation or immediate burial. If you are charged for embalming, we will explain why below.
                                           STATEMENT OF FUNERAL GOODS AND SERVICES SELECTED
A. . CHARGES FOR SERVICES                                                               C. SPECIAL CHARGES:
1. Professional Services:                                      $2,195.00                Forwarding of Remains to
   Funeral Director & Staff                                                             register book                              $45.00
   Embalming                                                                            Receiving of Remains
   Other Care of Remains                                         $175.00                from Hospital                           $1,561.00
                                                                                        Immediate Burial
                                           a!JIUQIAL           H,ilZSUW                 Direct Cremation
2. Facilities & Equipment:                                                                                                      $1,606.00
   Facilities For Viewing                                        $150.00                D. CASH ADVANCES:
   Funeral Ceremony at Church/Chapel                             $150.00                Newspaper                                  $95.00
   Memorial Ceremony at Chapel                                                          Programs            200 bklets@           $470.00
   Graveside Services                                                                   CEMETERY-           AMG                 $1,295.00
                                           S!.UU.QIAI..          i~!lSI.SIQ             Casket Spray                             $300.00
3. Automotive Equipment:                                                                Escort
   Transfer of Remains to F.H.                                   $797.19                Death Certificate   i@.                      $41
   Funeral Home (Hearse)                                         $350.00                                    TOTAL               $2,201,0Q
   Family Limousine                                       1 included
   Additional Limousine ( X-Limo)                                   $0.00               A. Charges For Services                 $3,817.19
                                           §!.!fUQIAI..        IM~~.~2                  B. Charges For
                                           TOTAL             $3,817.19                  Merchandise                             $1,295.00
B. CHARGES FOR MERCHANDISE:                                                             C. Special Charges                      $1,606.00
   Casket             20 Guage                                 $1,295.00                D, Cash Advances                        $2,201.00
   Outer Container                                                                      C_HARGES BEFORE· TAX                    1§.919,JP
   Casket (head panal)                                                                  E. Sale Tax                               $53.00
    URN &                                                                               Total Funeral Home
  . Wearing Apparel                                                                     Charges                               $8,972.19
    Shipping Container                                                                  LESS CREDIT AND PREPAYMENT:
    Headstone                                                                           Service Discount
   Temporary Gravemarker                                                                Burial Insurance
                                           TOTAL               ll ,~ili,IHZ             Life Insurance
                                                                                        Down Payment
                                                                                        Total Credit                                $0.00
                                                                                                            Balance Due         1uz2,19

                                                                                        Reason tor Embalroioa               ~


x___________                                                                            Relationship to Deceased_ _ __
                                     Case 4:22-cv-02335 Document 1 Filed on 09/17/21 in TXSD Page 22 of 23



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            7600 BEECHNUT              p 0 BOX 301208                          ~~ 0468180717500BSW
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        bl WATKINS MARLON                   .~ .HOUSTON                                                l•'li'X ~V7082                                                                                                                                                                                                        llfSA
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           Case 4:22-cv-02335 Document 1 Filed on 09/17/21 in TXSD Page 23 of 23


                                                     Release of Information - Billing Department                                 Invoice Date:                         06/02/2021
                                                     Tax Id#: XX-XXXXXXX                                                         MHR No:                                   793220
                                                     www.memorialhermann.org/mhrelease                                           Portal Code:                         XQTUN53D




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     1006 SILVER CREEK DR, SHERWOOD ARKANSAS 72120                                                                      1006 SILVER CREEK DR, SHERWOOD
                                                                                                                        ARKANSAS 72120




Patient Name:                                 WATKINS, MARLON                                                        Patient DOB:                          09/06/1990
Dates of Service:                             03/24/2021 "to 03/24/2021                                              Claim No:


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Description                                                                                               Quantity:                 Units($)                    Amount($)
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$35 Fee for all returned checks.                                                                             ;




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